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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


 METH LAB CLEANUP, LLC,

        Plaintiff,

 v.                                                      Case No: 8:14-cv-3129-T-30TBM

 SPAULDING DECON, LLC and
 LAURA SPAULDING,

        Defendants.



                           ORDER AND FINAL JUDGMENT

        THIS CAUSE is before the Court on the Parties' Joint Stipulation of Dismissal and

 Notice of Settlement (Dkt. 112). In notifying the Court of their settlement, the parties in

 this breach of contract case also ask the Court to enter final judgment on those claims and

 counterclaims the Court previously resolved in summary judgments (See Dkts. 39, 70, and

 104) and to dismiss with prejudice those claims and counterclaims that remain. The Court

 has reviewed the request and is otherwise advised in the premises.

        It is ORDERED AND ADJUDGED that:

        1.     Final Judgment is granted in favor of Plaintiff METH LAB CLEANUP, LLC

               and against Defendants SPAULDING DECON, LLC and LAURA

               SPAULDING on Count IV of the Complaint (Dkt. 1; see Dkt. 104, p. 10,

               wherein each count is specified and referred to as a “Breach”); Final
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            Judgment is granted against Plaintiff METH LAB CLEANUP, LLC and in

            favor of Defendants SPAULDING DECON, LLC and LAURA

            SPAULDING on Counts III and V of the Complaint.

       2.   Counts I and II of the Complaint (Dkt. 1), which represent all remaining

            counts in the complaint, are DISMISSED WITH PREJUDICE.

       3.   Final Judgment is granted against Defendants/Counter-Claimants/Third-

            Party Plaintiffs SPAULDING DECON, LLC and LAURA SPAULDING

            and in favor of Plaintiff/Counter-Defendant METH LAB CLEANUP, LLC

            and Third-Party Defendants JOSEPH AND JULIE MAZZUCA on Counts

            II, III, V, and VI of the Counterclaim (Dkt. 32).

       4.   Counts I and IV of the Counter-claim (Dkt. 32), which represent all

            remaining counterclaims, are DISMISSED WITH PREJUDICE.

       5.   On all dismissed claims and counterclaims, the parties shall bear their own

            costs, expenses, and attorney’s fees.

       6.   The Court retains jurisdiction to rule on the parties’ entitlement to damages,

            costs, and attorney’s fees on those claims for which they are the prevailing

            party.

       7.   The Court retains jurisdiction for a period of one (1) year to enforce the terms

            of the parties’ settlement.




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       8.     The Clerk is directed to close this case and terminate all pending motions as

              moot.

       DONE and ORDERED in Tampa, Florida, this 10th day of May, 2016.




 Copies furnished to:
 Counsel/Parties of Record




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